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I respectfully request financial assistance from the court in relation to travel
and subsistence costs for my hearing on August 31, 2015. I am currently
unemployed and have been regularly seeking employment. I am scheduled
to participate in the upcoming “Reemployment Cpportunities Workshop” held
by the Maryland Department of Labor, Licensing, and Reguiation {DLLR). In
addition to being unemployed my wife lost her employment in May, 2015,
which has compounded the matter.

F 3m unable to pay my current obligated bills and have been seeking
assistance from immediate family to maintain current on required living
costs such as housing, electric, water and food — my current bills far exceed
my avaijable financial resources since becoming unemployed. My legal
defense fees have added to the exhaustion of my available resources and I
do net have the financial ability myself to cover the costs for travel and
subsistence for my hearing date.

Af el) CE
Shaun Bridges
